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 7                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,
 9
10                             Plaintiff,
                                                      4:21-CR-06028-RMP-3
11                  v.
12
     JOEL CHAVEZ-DURAN,                               United States’ Suppression
13                                                    Hearing Closing Brief
14                             Defendant.
15         Plaintiff, United States of America, by and through Vanessa R. Waldref, United
16
     States Attorney for the Eastern District of Washington, Stephanie Van Marter,
17
18 Assistant United States Attorney for the Eastern District of Washington, hereby
19 submits the following Closing Brief after the motion hearing on Defendant’s Motion
20
   to Suppress Evidence. ECF No. 51.
21
22                                      I.    Introduction
23         On October 19, 2021 this Court presided over a hearing as to Defendant’s
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     Motion to Suppress Evidence. After the presentation of evidence and hearing from
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26 several witnesses, the Court requested the parties to submit closing briefs and for the
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     United States to submit a reply to Defendant’s closing brief.
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     United States’ Suppression Hearing Closing Brief - 1
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                                         II.    Discussion
 1
 2        A. The Officers had a Reasonable and Articulable Basis to Conduct an Exterior Pat
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             Down of Defendant for Officer Safety.
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             As outlined in the United States’ Response to Defendant’s Motion to Suppress
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 6 Evidence, ECF No. 62, officers are permitted to “conduct a carefully limited search of
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     the outer clothing” to discover weapons. Terry v. Ohio, 392 U.S. 1, 30 (1968). This
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 9 pat down is justified where the officers “harbor reasonable suspicion that the person
10 subjected to the frisk is armed and dangerous.” Arizona v. Johnson, 555 U.S. 323,
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     327 (2009). The inquiry looks to the totality of the circumstances and requires
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13 officers to consider “all of the facts and circumstances an officer confronts in the
14 encounter.” Thomas v. Dillard, 818 F.3d 864, 876-77 (9th Cir. 2016). Officers are
15
     also permitted to consider the type of crime a person is suspected of committing. Id.
16
17 at 878. The Ninth Circuit has held that “it is reasonable for an officer to assume a
18 suspected narcotics trafficker is likely armed.” Id. (citing United States v. $109,179 in
19
     U.S. Currency, 228 F.3d 1080, 1086 (9th Cir. 2000)).
20
21           Contrary to the Defendant’s argument, the basis for the frisk is upon the totality

22 of the circumstances, not the isolated knowledge of just one officer present. The
23
   following facts from the hearing bear weight on this issue1:
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25
26  The assigned AUSA did not have access to any of the hearing transcripts at the time
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   this argument was prepared. The summary of facts is based upon all the exhibits and
27 notes from the hearing. The assigned would defer to the actual transcripts in the event
28 of a dispute.
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1          • Defendant was in possession and was driving a vehicle that was utilized

2             during a drug trafficking investigation, specifically surveilled on several
3
              occasions at locations of interest and was utilized to deliver approximately
4
5             one pound of methamphetamine during a controlled buy. It was unknown

6             who the driver was at that time or who was utilizing that vehicle.
7
           • This vehicle was frequently observed at the Affordable Landscaping
8
9             property after this controlled buy and prior to the execution of search

10            warrants. The search warrant executed at that compound revealed a number
11
              of evidentiary items to include several loaded assault style weapons.
12
13         • The vehicle was observed returning to this location after the execution of the
14            search warrant and on the day in question. Due to the ongoing nature of the
15
              investigation, to include a missing shipment of narcotics, agents set up
16
17            surveillance on the vehicle.
18         • The vehicle was surveilled to a job site, however, based upon the
19
              investigation thus far, the DTO had engaged in drug related activities while
20
21            using Affordable Landscaping trucks and job sites in the past. As a result, a
22
              determination was made to pull the vehicle over after it left the job site at
23
              approximately 5:30 pm.
24
25         • The driver was identified as Joel Chavez Duran, a subject known to TFA
26
              Pitts. The testimony was specific as to two separate “Joel’s” implicated in
27
28            the investigation. As to “Joel Chavez Duran” TFA Pitts testified he was
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                only generally described as being involved with no specific information
 1
 2              provided2.
 3
             • Upon these facts, the agent’s collective knowledge and information as to this
 4
 5              overall investigation and the scope of this DTO, justified the exterior pat

 6              down search of the Defendant.
 7
          B. Defendant Voluntarily Consented to the Frisk.
 8
 9           “Consent searches are part of the standard investigatory techniques of law

10 enforcement agencies” and are “constitutionally permissible and wholly legitimate
11
     aspect of effective police activity.” Fernandez v. California, 571 U.S. 292, 298
12
13 (2014). Consent must be voluntary, and voluntariness is a question of fact to be
14 determined from the totality of the circumstances. Id. at 248-49. The Ninth Circuit
15
   has identified five factors to be considered in determining whether a search was
16
17 voluntary: (1) whether defendant was in custody; (2) whether arresting officers had
18 their guns drawn; (3) whether Miranda warnings were given; (4) whether defendant
19
   was told he had a right not to consent; and (5) whether defendant was told a search
20
21 warrant could be obtained. United States v. Russell, 664 F.3d 1279, 1281 (9th Cir.
22
23
24
25  Contrary to the defendant’s arguments, this understanding of the Defendant’s general
     2


26 involvement had nothing to do with the basis of the traffic stop which was to
   effectuate the search warrant. This general knowledge as to his possible involvement
27 pertains only to whether that contributed to the reasonable of conducting a pat down
28 frisk.
   United States’ Suppression Hearing Closing Brief - 4
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     2012) (citing United States v. Morning, 64 F.3d 531, 533 (9th Cir. 1995) (quoting
 1
 2 United States v. Castillo, 866 F.2d 1071, 1082 (9th Cir. 1988)).
 3
           However, “consent to a search is not necessarily involuntary simply because
 4
     officers failed to provide notice of the right to refuse.” United States v. Russell, 664
 5
 6 F.3d 1279, 1282 (9th Cir. 2012) (citing United States v. Cormier, 220 F.3d 1103, 1113
 7
     (9th Cir. 2000)). In Russell¸ the Ninth Circuit specifically noted the officer in
 8
 9 question advised that Russell was free to leave and not under arrest but did not advise
10 him he could refuse consent or that they could obtain a search warrant. The Ninth
11
     Circuit still found the consent voluntary upon a totality review.
12
13         In United States v. Vongxay, 594 F.3d 1111, 1119-1120 (9th Cir. 2011), the

14 Ninth Circuit, again applying the Jones factors set forth above, found a consent to a
15
     pat down search voluntary when Vongxay did not respond verbally, but instead put his
16
17 hands on his head to allow the officer to search. The Ninth Circuit affirmed the
18 district courts findings, “Vongxay's act of raising his hands to his head constituted
19
     implied consent to search. It also found that “[t]here were no threats, coercion or
20
21 otherwise.” Considering the totality of the circumstances, we do not find that the
22 district court's finding of consent was clearly erroneous.” Id.
23
          Similarly, here, the pat down search of the Defendant was conducted after
24
25 Defendant voluntarily consented to it both in word and in action. The United States
26 acknowledges there is no audio recording of interaction between the Defendant, TFA
27
   Pitts and Ofc. Safranek, the principal parties who were a witness to the advisements to
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     the Defendant and his consent to the pat down search. However, the officer’s
1
2 testimony was consistent with each other and their actions reasonable under the facts
3
     and circumstances. Moreover, the body camera footage provides partial audio and
4
     video which supports the officer’s testimony and the voluntary nature of the consent.
5
6 There is simply no credible evidence otherwise. The evidence as to this issue
7
     establishes the following:
8
9          • Once the vehicle in question left the job site, the officers called to assist with

10            this traffic stop, pulled the vehicle over as soon as practicable. There was no
11
              plan or intent to have the traffic stop on the freeway interchange. The
12
13            location of the traffic stop, in part dictated by the Defendant’s path of travel

14            which would not have been known ahead of time by the agents, was not part
15
              of any nefarious or coercive plan.
16
17         • The plan, as spontaneously discussed by agents on scene, was to stop the car
18            based upon the search warrant and identify the driver. TFA Pitts upon
19
              learning of his name, wanted to see if the Defendant would agree to speak to
20
21            him about the investigation, to which the Defendant initially agreed. The
22            Defendant changed his mind and requested to speak to TFA Pitts at a later
23
              time. There was never a plan to place the Defendant into custody and the
24
25            Defendant was advised, as he admitted, on multiple occasions that he was
26            not under arrest. See, Exhibit 1, Officer Safranek states the “whole ruse is
27
              just to get his information and that’s it” (1:16; 17:27:42); SA Savage says
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              “we’re gonna kick him loose” and “I suppose we can drive him somewhere”
1
2             (3:29; 17:29:54); Ofc. Safranek says “he’s not under arrest, he’s free to go
3
              and be interviewed by Pasco PD.” (6:40; 17:33:06) SA Savage tells Ofc.
4
              Erickson “we’ll give him a courtesy ride. I’ll drive his car back to your
5
6             guys’ shop;” TFO Pitts states that Defendant wants to “talk another time.
7
              Off-site.” (8:17; 17:34:42); First mention of detaining Defendant was after
8
9             pills discovered (11:05; 17:37:31). These spontaneous statements captured

10            on video are in insight to the Court as to the intentions of the officers, all
11
              consistent with their testimony.
12
13         • After the Defendant changed his mind as to engaging in an interview, SA

14            Pitts remined the Defendant he could not leave in the car because of the
15
              search warrant. At that time, SA Pitts offered the Defendant a courtesy ride.
16
17            This occurred while the Defendant was still seated inside his car and in

18            possession of his cell phone. SA Pitts spoke to him in Spanish at the
19
              Defendant’s request although there was sufficient evidence, as admitted to
20
21            by the Defendant, that he understood English. Both Ofc. Safranek and
22            Erickson spoke to the Defendant in English and testified the Defendant
23
              responded to them appropriately and understood the English conversation.
24
25         • SA Pitts testified that, while still inside the car, if the Defendant wanted a
26            courtesy ride, he would have to be pat down for weapons, a condition
27
              precedent to the courtesy ride. SA Pitts testified the Defendant expressly
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              agreed to that condition. It was then that SA Pitts asked if he had any
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2             weapons to which the Defendant stated no. Only after the Defendant agreed
3
              to the courtesy ride, did he exit the vehicle, voluntarily. After the Defendant
4
              exited the vehicle, Ofc. Safranek testified that he also advised the Defendant
5
6             as to the specifics of the voluntary pat down search, as is his common
7
              practice. Ofc. Safranek’ s report, which was prepared directly after this
8
9             traffic stop, indicated the Defendant verbally agreed to the pat down as well

10            as provided implied consent by placing his hands on top of the car to allow
11
              the pat down search. Ofc. Safranek testified his memory was refreshed that
12
13            the Defendant did provide both verbal and non-verbal consent to the pat

14            down search. Thus, both SA Pitts and Officer Safranek testified that they
15
              each advised the Defendant the pat down was voluntary, and the Defendant
16
17            consented.

18         • Officer Safranek and Erickson testified that people have refused courtesy
19
              rides in the past and have been able to leave the scene. All law enforcement
20
21            witnesses testified had the Defendant declined the pat down search, he
22            would have been free to leave the location however he chose.
23
           • Defendant still had his cell phone and would have been able to make a call
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25            to arrange for another ride but instead accepted the courtesy ride.
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 1         • The Defendant volunteered he had pills in his pocket. They were not

 2            discovered as a result of any search, but rather at the Defendant’s voluntary
 3
              identification.
 4
 5         In applying the Jones’ factors, they weigh in favor of the voluntary pat down

 6 search: 1) whether defendant was in custody- the Defendant was advised repeatedly he
 7
     was not in custody and the video affirms; (2) whether arresting officers had their guns
 8
 9 drawn- no guns were ever drawn or pointed at the Defendant; (3) whether Miranda
10 warnings were given- they were not given as the Defendant was not under arrest.
11
     Miranda warnings were given after the Defendant was placed under arrest upon the
12
13 discovery of the pills. The Defendant knowingly waved those rights and agreed to be
14 interviewed affirming the voluntary and consensual nature of the contact to that point;
15
   (4) whether defendant was told he had a right not to consent- the Defendant was not
16
17 expressly advised this but was expressly advised that he could choose to do whatever
18 he wanted. However, if he wanted a ride, he would need to agree to a pat down
19
   search; and (5) whether defendant was told a search warrant could be obtained- a
20
21 search warrant had already been obtained for the vehicle to which the Defendant was
22 explained. The pat down search was raised in the context of a courtesy ride and under
23
   these circumstances, was perfectly reasonable conduct on the part of the officers
24
25 consistent with routine procedure.
26         The only evidence to the contrary was the testimony of the Defendant. The
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     United States respectfully submits his testimony is neither credible nor consistent with
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     the evidence before the Court. The Defendant’s criminal history alone presents a
 1
 2 picture of someone who is familiar with law enforcement practice having been the
 3
     subject of repeated contacts resulting in his own arrest both in the United States and in
 4
     Mexico. The Defendant admitted to receiving a phone call from a known subject in
 5
 6 Mexico and asked to go pick up pills for distribution, consistent with his post Miranda
 7
     statement. The Defendant agreed to meet with other members of this organization to
 8
 9 pick up the pills and further agreed to distribute them at the direction of his contact in
10 Mexico in exchange for money. The Defendant admitted to having the pills on his
11
     person when he left in the vehicle in question, a vehicle he had been in possession of
12
13 and using for approximately 1 year. The Defendant acknowledged that some of the
14 officers spoke to him in English and one officer in Spanish. The Defendant
15
     acknowledged they advised him he was not under arrest and that there was a search
16
17 warrant for the car. All consistent with the testimony of the officers.
18         The Defendant’s testimony then changes when it comes to his voluntary
19
     consent to the courtesy ride. Much like his sworn testimony, he is not hesitant to
20
21 discuss his possession of the pills. It seems clear he would have also volunteered that
22 when the officers felt them in his pocket. The officers here, had no idea the Defendant
23
   had 2000 fentanyl pills in his pocket. They were looking for the car, not the
24
25 Defendant. Their actions are consistent with that intent. The Defendant is attempting
26 to take advantage of a void in audio recording to fill it with self-serving testimony to
27
   try and avert what was a consensual and voluntary contact. His testimony simply does
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     not outweigh the totality of the evidence establishing that voluntary and consensual
1
2 nature of this contact.
3
           Dated: October 27, 2021.
4
                                                  Vanessa R. Waldref
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                                                  United States Attorney
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8                                                 Stephanie A. Van Marter
                                                  Assistant United States Attorney
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1
2                               CERTIFICATE OF SERVICE
3
           I hereby certify that on October 27, 2021, I electronically filed the foregoing
4
     with the Clerk of the Court using the CM/ECF System which will send notification of
5
6 such filing to the counsel of record, Adam R. Pechtel.
7
8                                                 s/
9                                                 Stephanie Van Marter
                                                  Assistant United States Attorney
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